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IN THE UNITED STATES DISTRICT COURT h ,
FOR THE WESTERN DISTRICT OF TENNES SEE 535 ;"l:~l.
WESTERN DIVISION

GREEAR TREW,
Plaintiff,

V. No. 04-2163 B

AMERICAN INSTITUTE OF INTRADERMAL
COSMETICS, INC., et al.,

Defendants.

 

ORDER DENYING DEFENDANT CLARIANT CORPORATION'S
MOTION TO DISMISS

 

Before the Court is the motion of the Defendant, Clariant Corporation ("Clariant"), to dismiss
the second amended complaint of the Plaintiff, Greear Trew, pursuant to Rule S(a)(Z) of the Federal
Rules of Civil Procedure. This lawsuit arises from alleged injuries on the part ot` the Plaintiff
resulting from a permanent makeup tattooing process. Trew has alleged in her second amended
complaint that Clariant, along With other Defendants, sold pigments and/or materials to Defendants
Sandi Hammons and American lnstitute of Intradermal Cosmetics to be used in the preparation of
the Premier True Color Concentrates applied to her lips, eyebrows and eyelids. The Plaintiff avers
that an ingredient used in the production of the substance, Pigment Oran ge 3 6, Was defective and was
the cause of her injuries

The basis for the instant motion is that the 39-page, 361 paragraph complaint does not
comply with Rule 8. The Rule requires that a complaint "shall contain . . . a short and plain
statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2).

Furthennore, subsection (e) of the Rule provides that “[e] ach averment of a pleading shall be simple,

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with acre 513 and/or 79(a) FacP on fic/ ' §§

 

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concise, and direct." Fed. R. Civ. P. S(e). "Taken together, Rules 8(a) and S(e)(l) underscore the
emphasis placed on clarity and brevity by the federal pleading rules." Ciralsky v. Central
lntelligence Agency, 355 F.3d 661, 669 (D.C. Cir. 2004). Policing compliance with the Rule falls
within the discretion of the trial judge. l_d.

The Defendant's objection to the complaint, it appears, is that it is just too long. However,
Rule 8 mandates short and plain statements of claims, not short complaints Qz_e_ Fed. R. Civ. P.
S(a)(?.); M alj M, 355 F.3d at 670. Rule S(e) also provides in subsection (2) that

[a] party may set forth two or more statements of a claim or defense alternately or

hypothetically, either in one count or defense or in separate counts or defenses . . .

A party may also state as many separate claims or defenses as the party has regardless

of consistency and whether based on legal, equitable, or maritime grounds . . .
Fed. R. Civ. P. 8(e)(2). The Plaintif`f‘s second amended complaint names six Defendants and sets
forth claims for negligence, strict liability, breach of express warranty, breach of implied warranty
of merchantability, negligent representation, breach of implied warranty of fitness for a particular
purpose, negligent infliction of emotional distress, violation of the Tennessee Consumer Proteetion
Act, and intentional infliction of emotional distress and outrageous conduct as to the various
Defendants. The claims were arranged in separate counts with respect to each Defendant or group
of Defendants.

A review of the case law concerning Rule 8 reveals that the Rule has been found violated
where "each count is replete with factual allegations that could not possibly be material to that
specific count“; "allegations that are material are buried beneath innumerable pages of rambling

irrelevancies," Magluta v. Samples, 256 F.3d 1282, 1284 (l lth Cir. ZOOi); or Where the complaint

is unintelligible, Davis v. Ruby Foods, Inc., 269 F.3d SlS, 820 (7th Cir. 2001). None of these

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deficiencies have been alleged by the Defendant here. Nor does Clariant suggest that the complaint
is unclear, that it failed to provide adequate notice of` the Plaintiff's claims, or that it is frivolous on
its face. _Sjc_e _Qir_als__lgy, 355 F.3d at 670-71 (no violation of Rule 8 where the complaint, though long,
was not claimed to be unclear, lacking in notice, or frivolous on its faee). The presence of
extraneous matter, unless in extreme cases, which this is not, does not warrant dismissal §§ Q_ar_st
v. Lockheed-Martin COI'D., 328 F.3d 374 (7th Cir. 2003), §r_t_.@_ni_gi, 540 U.S. 968, 124 S.Ct. 450,
157 L.Ed.2d 313 (2003) ("Surplusage can and should be ignored. lnstead of insisting that the parties
perfect their pleadings, a judge should bypass the dross and get on with case."); Q_av_is, 269 F.3d at
820-21 ("when the complaint adequately performs the notice function prescribed for complaints by
the civil rules, the presence of extraneous matter does not warrant dismissal"). "lndeed, because of
its prolixity, [Trew's complaint] gives the [D]efendant much more information about the [P]laintiff‘s
conception of [her] case than the civil rules require . . ." _Sge_ _D_av_is, 269 F.3d at 820. In short, the
Court finds that, while the complaint is lengthy and perhaps not a model of concise pleading, it
simply does not call out for an exercise of the Court's discretion. Thus, the motion is DENIED.
IT IS SO ORDERED this £day of May 2005 .

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. DANIEL BREEN \
ED sTA'rEs DrsTRrCr JUDGE

 

   

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Clinton H. Scott

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jackson, TN 38302--200

Jennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

DeWitt M. Shy

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Lewis L. Cobb

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jackson, TN 38302--200

J ames Brandon McWherter

SPRAGINS BARNETT COBB & BUTLER
P.O. Box 2004

Jackson, TN 38302--200

Marianne Bell Matthews

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Leo Maurice Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

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Jill M. Steinberg

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

